                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                            CHAPTER 13
 Beth Ann Del Toro,
 a/k/a Beth Ann Brown Del Toro,                    CASE NO. 5:19-05034
 a/k/a Beth A. Del Toro,
 a/k/a Beth Del Toro,                                  ORIGINAL PLAN
 Debtor                                            2nd AMENDED PLAN (Indicate 1st , 2nd , 3rd ,
                                                         etc.)
                                                       Number of Motions to Avoid Liens
                                                       Number of Motions to Value Collateral


                                       CHAPTER 13 PLAN

                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if neither
box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,           Included       Not
   which are not included in the standard plan as approved by                         Included
   the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim,        Included        Not
   set out in § 2.E, which may result in a partial payment or no                      Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                   Included       Not
   nonpurchase-money security interest, set out in § 2.G.                             Included

                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in
connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income

        1. To date, the Debtor paid $N/A (enter $0 if no payments have been made to the Trustee to
date). Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If
applicable, in addition to monthly plan payments, Debtor shall make conduit payments through the
Trustee as set forth below. The total base plan is $52,270.00, plus other payments and property
stated in § 1B below:




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    Start             End               Plan            Estimated        Total             Total
   mm/yyyy           mm/yyyy          Payment            Conduit        Monthly          Payment
                                                        Payment         Payment         Over Plan
                                                                                           Tier
 12/2019           12/2019         $350.00          N/A               $350.00          $ 350.00
 01/2020           11/2024         $880.00          N/A               $880.00          $51,920.00

                                                                             Total $52,270.00
                                                                         Payments:

        2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify the Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-
petition mortgage payments that come due before the initiation of conduit mortgage payments.

       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
   to the terms of the plan.

         4. CHECK ONE: ( ) Debtor is at or under median income. If this line is checked, the rest
                        of § 1.A.4 need not be completed or reproduced.

                              ( X ) Debtor is over median income. Debtor estimates that a minimum
                              of $50,101.20 must be paid to allowed unsecured creditors in order to
                              comply with the Means Test.


   B. Additional Plan Funding From Liquidation of Assets/Other

         1. The Debtor estimates that the liquidation value of this estate is $52,255.13. (Liquidation
            value is calculated as the value of all non­exempt assets after the deduction of valid liens
            and encumbrances and before the deduction of Trustee fees and priority claims.)

         Check one of the following two lines.

         X      No assets will be liquidated. If this line is checked, the rest of § 1.B need not be
                completed or reproduced.


2. SECURED CLAIMS.

   A. Pre-Confirmation Distributions. Check one.

     X       None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.




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  B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other
     Direct Payments by Debtor. Check one.

          None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

   X      Payments will be made by the Debtor directly to the creditor according to the original
          contract terms, and without modification of those terms unless otherwise agreed to by
          the contracting parties. All liens survive the plan if not avoided or paid in full under the
          plan.

       Name of Creditor                   Description of Collateral                 Last Four
                                                                                     Digits of
                                                                                     Account
                                                                                     Number
Santander Consumer               2019 Ford Escape                                 5823



  C. Arrears, including, but not limited to, claims secured by Debtor’s principal residence.
     Check one.

   X      None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.


  D. Other secured claims (conduit payments, claims for which a § 506 valuation is not
     applicable, etc.)

   X      None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.


  E. Secured claims for which a § 506 valuation is applicable. Check one.

   X      None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.


  F. Surrender of Collateral. Check one.

          None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

   X      The Debtor elects to surrender to each creditor listed below the collateral that secures the
          creditor’s claim. The Debtor requests that upon confirmation of this plan or upon
          approval of any modified plan the stay under 11 U.S.C. §362(a) be terminated as to the
          collateral only and that the stay under §1301 be terminated in all respects. Any allowed
          unsecured claim resulting from the disposition of the collateral will be treated in Part 4
          below.


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       Name of Creditor                     Description of Collateral to be Surrendered
Wells Fargo Home Mortgage               2130 Snowflake Court, Bushkill, PA
Wells Fargo Bank                        2130 Snowflake Court, Bushkill, PA


  G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
     one.

   X      None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.


3. PRIORITY CLAIMS.

  A. Administrative Claims

       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by
          the United States Trustee.

       (2) Attorney fees. Check one box:

                      In addition to the retainer of $-0- already paid by the Debtor, an amount not
                       to exceed the presumptively reasonable fee specified in L.B.R. 2016-2, shall
                       be paid by Hyatt Legal Services. Any amount exceeding the unpaid balance
                       of the presumptively reasonable fee specified in L.B.R. 2016-2 will be
                       subject to the approval of the Court.

                      $______ per hour, to be adjusted in accordance with the terms of the written
                       fee agreement between the Debtor and the attorney. Payment of such
                       Lodestar compensation shall require a separate fee application with the
                       requested amount of compensation approved by the Court.


       2. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                 Check one of the following two lines.

            X       None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                    reproduced.


  B. Priority Claims (including certain Domestic Support Obligations).

       Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless
       modified under § 9.

                Name of Creditor                            Estimated Total Payment



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    C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
       U.S.C. §507(a)(1)(B). Check one of the following two lines.

          X      None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.


4. UNSECURED CLAIMS

    A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
       following two lines.

          X      None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

    B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
       remaining after payment of other classes.


5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following
   two lines.

     X        None. If “None” is checked, the rest of § 5 need not be completed or reproduced.


6. VESTING OF PROPERTY OF THE ESTATE.

    Property of the estate will vest in the Debtor upon

    Check the applicable line:

          plan confirmation.
          entry of discharge.
     X    closing of case:


7. DISCHARGE: (Check one)

    (X)       The debtor will seek a discharge pursuant to § 1328(a).
    ( )       The debtor is not eligible for a discharge because the debtor has previously received a
              discharge described in § 1328(f).


8. ORDER OF DISTRIBUTION:
If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.


Payments from the plan will be made by the Trustee in the following order:

                                                     5


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 Level 1    Adequate protection payments                      $ -0-
 Level 2    Debtor’s attorney’s fees.                         $ HYATT
 Level 3    Domestic Support Obligations                      $ -0-
 Level 4    Priority claims, pro rata                         $ -0-
 Level 5    Secured claims, pro rata                          $ -0-
 Level 6    Specially classified unsecured claims             $ -0-
 Level 7    General unsecured claims                          $47,518.18
 Level 8    Untimely filed unsecured claims to which the      $ -0-
            debtor(s) has/have not objected.
            Subtotal                                                            $47,518.18
            Trustee Commission                                $ 4,751.82
            Total                                                               $52,270.00

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)

   A. This Chapter 13 Plan provides a distribution chart in Section 8 above that provides
      estimated distributions to classes of creditors and the Trustee, in addition to all information
      indicated in the Model Plan.

Dated: ________                           /s/ Vincent Rubino
                                          VINCENT RUBINO, ESQ., Attorney for Debtor


                                          /s/ Beth Ann Del Toro
                                          BETH ANN DEL TORO, Debtor


By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.
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